         Case 3:19-cv-01105-RDM Document 52 Filed 11/22/21 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THOMAS BRIDGEN,

                           Plaintiff,
        V.                                          3:19-CV-1105
                                                    (JUDGE MARIANI)
CONNIE AST a/k/a
CONNIE KENNER,

                           Defendant.

                                             ORDER
                                        ft
        AND NOW, THIS .21_ DA OF NOVEMBER 2021, IT IS HEREBY ORDERED

THAT:

  1. Defendant's Motion in Limine to Preclude Plaintiffs Claim for Emotional Distress and

        Other Non-Provable Damages (Doc. 34) is DENIED WITHOUT PREJUDICE but

        subject to Defendant's timely objection, should the issues in Defendant's Motion

        arise at trial.

  2. Defendant's Omnibus Motion in Limine (Doc. 36) is STRICKEN for violation of this

        Court's Pretrial Order (Doc. 33). Notwithstanding the foregoing, Defendant may

        raise timely objections to the presentation of evidence which Defendant believes is

        inadmissible as well as to trial conduct that is not in accordance with law or rule.




                                                Robert D. Mariani
                                                United States District Judge
